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HARDIN THOMPSON, P.C.
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Counsel for Defendants, County of Delaware, Delaware County Tax Claim Bureau, John van Zelst, and Karen
Duffy

  UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ALPHONSO NICHOLAS FAGGIOLO
          Plaintiff,

                       v.                             Case No. 2:23-cv-01904

COUNTY OF DELAWARE, ET AL.

                                NOTICE OF ENTRY OF APPEARANCE

TO THE CLERK OF COURT:
       Kindly enter my appearance on behalf of Defendant County of Delaware, Delaware County Tax

Claim Bureau, John van Zelst and Karen Duffy in this matter and note my address on which all papers

should be served.



Date: May 24, 2023                            HARDIN THOMPSON, PC

                                              /s/ Michael F. Schleigh
                                              Michael F. Schleigh, Esquire
                                              Counsel for Defendants County of Delaware
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  UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF PENNSYLVANIA

HECTOR FIGUEROA
ALPHONSO NICHOLAS FAGGIOLO
           Plaintiff,

                       v.                              Case No. 2:23-cv-01904

COUNTY OF DELAWARE, ET AL.

                                      CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the attached Entry of Appearance was

served upon the following by US Mail pre-paid to:

Alphonoso Nicholas Faggiolo
713 Lamp Post Lane
Aston, PA 19014


Susan Brochet, Tax Collector
Borough of Ridley Park
105 E Ward St.
Ridley Park, PA 19078-3010

Date: May 24 2023                              HARDIN THOMPSON, PC

                                               /s/ Michael F. Schleigh
                                               Michael F. Schleigh, Esquire
                                               Counsel for Defendants County of Delaware
